Case 01-01@-Amc Doc 176 Al @ 1 of 16

ORIGINA
PE

IN THE UNITED STATES BANKRUPTCY COURT” |
FOR THE DISTRICT OF DELAWARE

2001 MAY -2 pM 3:97

In re: ) Chapter 11
) US BANK
W.R. GRACE & CO., et al.,' ) Case No. 01-01139 (JSUF)C i ©
) (Jointly Administered)
)
Debtors. )
STATE OF ILLINOIS )
) Ss:
COUNTY OF COOK )

SECOND SUPPLEMENTAL AFFIDAVIT OF JAMES H.M. SPRAYREGEN
UNDER 11 U.S.C. § 327(a) AND FED. R. BANKR. P. 2014

JAMES H.M. SPRAYREGEN, ESQUIRE, being duly sworn, deposes and says:
1. I am a partner in the firm of Kirkland & Ellis (“K&E”), 200 East Randolph

Drive, Chicago, Illinois 60601. I am admitted to practice in the Supreme Court of Illinois, the

| The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R.

Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun
Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners 1,
Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc.,
GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace
Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace
Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace
International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR
Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace
Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a
Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a
British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C
Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial
Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal
Company.

~

a
I:\Project Allen\Postpetition Motions\Supplemental Affidavits\Sprayregen Second Supplemental Affidavit v 02.wpd } (Y-

16

mem

Case 01-01@-Auc Doc 176 Filed 05/02/01 or 2 of 16

United States District Court for the Northern District of Illinois, the United States Court of Appeals
for the Seventh Circuit, the United States District Court for the Eastern District of Wisconsin, the
United States District Court for the Western District of Michigan, the Supreme Court of New York,
the Southern District of New York, the Eastern District of New York, the United States District
Court for Arizona and the Supreme Court of the United States. I am authorized to make this
affidavit on K&E’s behalf.

2. On April 2, 2001 (the “Petition Date’), each of the Debtors filed a voluntary
petition (collectively, the "Chapter 11 Cases") for relief under chapter 11 of title 11 of the United
States Code (as amended, the “Bankruptcy Code”). On Apmnil 2, 2001, the Court entered an order
procedurally consolidating the Chapter 1 1 Cases for administrative purposes only. Since the Petition
Date, the Debtors have continued to operate their businesses and manage their properties as debtors -
in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On April 12, 2001,
the office of the United States Trustee appointed (i) a committee of unsecured creditors in the
Chapter 11 Cases (the ‘Creditors’ Committee”), (ii) a committee of asbestos personal injury
claimants (the “Asbestos Personal Injury Committee”) and (111) a committee of asbestos property
damage claimants (the “Asbestos Property Damage Committee,” collectively with the Creditors’
Committee and the Asbestos Personal Injury Committee, the “Committees”.

a On April 2, 2001, K&E filed an application to be retained as attorneys for the
Debtors (the “Application”) in the Chapter 11 Cases. Notice of the motion was sent out on Apmil 3,
2001, with a deadline date for objections of April 18, 2001. A hearing has been set for May 3, 2001,
in this and other matters. The following affidavits in support of the Application have been filed on

behalf of K&E:

I:\Project Allen\Postpetition Motions\Supplemental Affidavits\Sprayregen Second Supplemental Affidavit v 02.wpd
Case 01-01@-Amc Doc 176 Filed 05/02/01 @ 3 of 16

a. Affidavit of James H.M. Sprayregen in Support of Application for
Order Under 11 U.S.C. § 327(a) and Fed. R. Bankr. P. 2014(a)
Authorizing the Employment and Retention of Kirkland & Ellis as
Attorneys for the Debtors and Debtors in Possession (the “Original
Affidavit’).

b. First Supplemental Affidavit of James H.M. Sprayregen Under
11 U.S.C. § 327(a) and Fed. R. Bankr. P. 2014 (the “First
Supplement,” together with the Original Affidavit, the “Affidavits”’).
4. This supplement to the Affidavits (the “Second Supplement’) is made
pursuant to Fed. R. Bankr. P. 2014(a). Kirkland & Ellis will continue to report, upon identification,
its connection to any of the entities listed on the exhibits attached to the Affidavits, members of the
Committees and the professionals appointed by the Committees (when appointed) and any other
entities where a potential conflict of interest may arise. Exhibit A to the Second Supplement
contains a list of (i) the entities and individuals comprising the membership of the Committees and °

(11) the named co-defendants in certain litigation naming W. R. Grace & Co. as defendant.
5, K&E’s conflicts search of the individuals and entities listed in Exhibit A to
the Second Supplement that K&E was able to locate using its reasonable efforts, the results of which
are listed below, reveals, to the best of my knowledge, that K&E remains disinterested within the

meaning of 11 U.S.C. § 101(14), as modified by 11 U.S.C. § 1107(b), and neither holds nor

represents interests adverse to the Debtors or to the Debtors’ estates:*

2 The table contained herein lists only entities that were not disclosed with respect to one or more of the exhibits to the
Affidavits. For example, J.P. Morgan Chase & Co. (“J.P. Morgan”) is listed as a member of the Unsecured Creditors’
Committee and is thus listed in Exhibit A. J.P. Morgan is not listed in the Second Supplement, however, because K&E’s
unrelated representation of J.P. Morgan was previously disclosed in the Original Affidavit.

[:\Project Allen\Postpetition Motions\Supplemental Affidavits\Sprayregen Second Supplemental Affidavit v 02.wpd

Case 01-01 AMC Doc 176 Filed 05/02/01 oo 4 of 16

Insurance Company of
America

Associates

(2) Prudential Equity
Investors

(3) Prudential Vector
Healthcare Group

: Name of Entity Name of Affiliate ; so
eee | that” | ot ny hat en
‘a K&E Client is a K&E Client

Bankers Trust (1) Deutsche Bank K&E represents Deutsche Bank

Company AG, A.G, and certain of its subsidiaries in
(2) Deutsche Bank ongoing transactional matters that
Securities, Inc. are unrelated to the Debtors.
(3) Bankers Trust
Foreign Investment
Corp.

The Prudential (1) Prudential Plaza K&E represents Prudential Equity

Investors and other affiliates of The
Prudential Insurance Company of
America in ongoing portfolio
investment and other transactional
matters that are unrelated to the
Debtors. A number of other
affiliates of The Prudential Insurance
Company of America are dormant
clients with no ongoing
representation by K&E.

6.

K&E will continue to periodically review its files during the pendency of the

Chapter 11 Cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If

any new relevant facts or relationships are discovered or arise, K&E will use reasonable efforts to

identify such further developments and will promptly file a supplemental affidavit as Fed. R. Bankr.

P. 2014(a) requires.

[:\Project Allen\Postpetition Motions\Supplemental Affidavits\Sprayregh Second Supplemental Affidavit v 02.wpd

Case 01-01 @-AMC Doc 176 Filed ee’ 5 of 16

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

On
Executed on7/°O , 2001

Subscribed and sworn to before me
this 30 day of April, 2001

“OFFICIAL SEAL”
Rosemarie T. Golowacz

Novary Public, State of Illinois
3 My Commission Expires Dec. 26, 2003

PS AR me tore. te

My Commission expires: one Ooi, 200 4

Bt YREGEN, ESQ.
Kirkland & Ellis,
200 East Randdlph Drive

Chicago, Illinois 60601
312/861-2000
312/861-2200 (fax)

I:\Project Allen\Postpetition Motions\Supplemental Affidavits\Sprayregen Second Supplemental Affidavit v 02.wpd
Case 01-01 @-AMC Doc 176 Filed (leo 6 of 16

EXHIBIT A

MEMBERS OF UNSECURED CREDITORS’ COMMITTEE

Zhagrus Environmental, Inc.

The Bank of New York, as Indenture Trustee
Bankers Trust Company, as Indenture Trustee
Sealed Air Corporation

ABN Amro Bank N.Y.

First Union National Bank

J.P. Morgan Chase & Co.

Bank of America, N.A.

Wachovia Bank & Trust Co., N.A.

92) 00) SS GA ed bo

ASBESTOS PROPERTY DAMAGES COMMITTEE

Marco Barbenti, class representative

Pacific Freeholds

The Trustees of Princeton University

The Prudential Insurance Company of America

SY he

ASBESTOS PERSONAL INJURY COMMITTEE

John Russell

Thomas J. Jones

John Smutko

Jennette Parent, representative of estate of Thomas Parent
Steven Jones, representative of estate of Barbara Ellen
Hammack

Royce N. Ryan

Roberta Jeffrey, Esq., representative of estate of Frank Jeffrey
Anthony Angiuli

Beverly Maulden, representative of John Wesley Maulden
Harvey Bair

Nathan O. Philips, Jr.

iA B&B Whe

= i 3 oe

— ©

I:\Project Allen\Postpetition Motions\Supplemental Affidavits\Sprayrogen Kecond Supplemental Affidavit v 02.wpd

Case 01-01 gp Amc Doc 176 Filed 05/02/01 eo 7 of 16

Additional Parties to Non-Asbestos Litigation

1; Hays Lemmerz International - Ohio, Inc. (successor-in-
interest to Motor Wheel Corporation)

Z. Lansing Board of Water & Light

3. Textron, Inc.

I:\Project Allen\Postpetition Motions\Supplemental Affidavits\SprayrofenSecond Supplemental Affidavit v 02.wpd
Case 01-01 @yAMC Doc 176 Filed 05/02/01 eo 8 of 16

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W. R. GRACE & CO., et al.,' ) Case No. 01-01139 (RJN)
) Jointly Administered
Debtors. )
AFFIDAVIT OF SERVICE

STATE OF DELAWARE )
)SS
COUNTY OF NEW CASTLE )

Patricia E. Cuniff, being duly sworn according to law, deposes and says that she is
employed by the law firm of Pachulski, Stang, Ziehl, Young & Jones P.C., co-counsel for the
Debtors, in the above-captioned action, and that on the 2nd day of May, 2001 she caused a copy
of the following document(s) to be served upon the attached service list(s) in the manner

indicated:

! The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ’N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

91100-001\DOCS_DE:20485.2
05/02/01 1:24 PM
Case ool gc Doc 176 Filed 05/02/01 eo 9 of 16

1, Second Supplemental Affidavit of James H.M. Sprayregen Under 11

U.S.C.§327(a) and Fed. . Bankr. P. 2014.

Dated: May 2, 2001 [ ht LC. (: fn uhh
Patricia E. Cuniff
aN t subscribed before
s 2nd day Alay 01
[basins
Notary Public

My Commission Expires: _03-2/-0 )-

91100-001\DOCS_DE:20485.2
05/02/01 1:24 PM
Case orene*"’ Doc 176 Filed 05/02/01 age 10 of 16

W. R. Grace 2002 Service List
Case No. 01-1139 (RIN)

Doc. No. 21948

May 2, 2001

11 — Hand Delivery

07 — Federal Express

61 — First Class Mail

(Counsel to Debtors and Debtors in
Possession)

Laura Davis Jones, Esquire

David Carickhoff, Esquire.

Pachulski, Stang, Ziehl, Young & Jones
919 North Market Street, 16th Floor
P.O. Box 8705

Wilmington, DE 19899-8705

(Counsel to Debtors and Debtors in
Possession)

Hamid R. Rafatjoo, Esquire

Pachulski, Stang, Ziehl, Young & Jones
10100 Santa Monica Boulevard

Los Angeles, CA 90067-4100

Hand Delivery

(Copy Service)

Parcels, Inc.

Vito I. DiMaio

10th & King Streets
Wilmington, DE 19801

Hand Delivery

(Local Counsel to DIP Lender)
Steven M. Yoder, Esquire

The Bayard Firm

222 Delaware Avenue, Suite 900
P.O. Box 25130

Wilmington, DE 19899

Hand Delivery

(Local Counsel to Asbestos Claimants)
William P. Bowden, Esquire

Matthew G. Zaleski, III, Esquire
Ashby & Geddes

222 Delaware Avenue

P.O. Box 1150

Wilmington, DE 19899

Hand Delivery

William H. Sudell, Jr., Esquire

Eric D. Schwartz, Esquire

Morris, Nichols Arsht & Tunnell

1201 N. Market Street

P.O. Box 1347

Wilmington, DE 19899

Hand Delivery

(Counsel for The Chase Manhattan Bank)
Mark D. Collins, Esquire

Deborah E. Spivack, Esquire

Richards, Layton & Finger, P.A.

One Rodney Square

P.O..Box 331

Wilmington, DE 19899

Hand Delivery

Jeffrey C. Wisler, Esquire
Michelle McMahon, Esquire
Connolly Bove Lodge & Hutz LLP
1220 Market Street, 10" Floor
Wilmington, DE 19899

Hand Delivery

(Counsel for Ingersoll-Rand Fluid Products)
Francis A. Monaco, Jr., Esquire

Walsh, Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400

P.O. Box 2031

Wilmington, DE 19801
Case Loli *Mc Doc 176 Filed 05/02/01 e” 11 of 16

Hand Delivery

(Counsel for Ingersoll-Rand Fluid Products)
Frederick B. Rosner, Esquire

Walsh, Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400
Wilmington, DE 19801

Hand Delivery

(Counsel for Property Damage Claimants)
Michael B. Joseph, Esquire

Ferry & Joseph, P.A.

824 Market Street, Suite 904

P.O. Box 1351

Wilmington, DE 19899

Hand Delivery

Bruce E. Jameson, Esquire
Prickett, Jones & Elliott
1310 King Street

P.O. Box 1328
Wilmington, DE 19899

Hand Delivery

Mark S. Chehi

Skadden, Arps, Slate, Meagher & Flom LLP
One Rodney Square

P.O. Box 636

Wilmington, DE 19899-0636

Federal Express

(Counsel to Debtor)

James H.M. Sprayregen, Esquire
James Kapp, III, Esquire
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

Federal Express

(United States Trustee)

Frank J. Perch, Esquire

Office of the United States Trustee
601 Walnut Street, Curtis Center,
Suite 950 West

Philadelphia, PA 19106

Federal Express

(Canadian counsel for Debtor)

Derrick Tay, Esquire

Meighen Demers

Suite 1100, Box 11, Merrill Lynch Canada
Tower

Sun Life Center, 200 Kint Street West
Toronto, Ontario M5H 3T4

CANADA

Federal Express

(W. R. Grace & Co.)
David B. Siegel

W.R. Grace and Co.
7500 Grace Drive
Columbia, MD 21044

Federal Express

(Official Committee of Personal Injury
Claimants)

Elihu Inselbuch, Esquire

Rita Tobin, Esquire

Caplin & Drysdale, Chartered

399 Park Avenue, 36" Floor

New York, NY 10022

Federal Express

(Official Committee of Unsecured
Creditors)

Lewis Kruger, Esquire

Stroock & Stroock & Lavan LLP
180 Maiden Lane

New York, NY 10038-4982

Federal Express

(Official Committee of Property Damage
Claimants)

Scott L. Baena, Esquire

Member

Bilzin Sumberg Dunn Baena Price &
Axelrod LLP

First Union Financial Center

200 South Biscayne Blvd, Suite 2500
Miami, FL 33131
Case 01-01 1@g AMC Doc 176 Filed 05/02/01 a” 12 of 16

First Class Mail
(Counsel to Sealed Air Corporation)
D. J. Baker, Esquire

Skadden, Arps, Slate, Meagher & Flom LLP

Four Times Square
New York, NY 10036

First Class Mail

(Counsel to DIP Lender)
J. Douglas Bacon, Esquire
Latham & Watkins

Sears Tower, Suite 5800
Chicago, IL 60606

First Class Mail

(Counsel to Asbestos Claimants)
Nancy Worth Davis, Esquire

Ness, Motley, Loadhold, Richardson &
Poole

28 Bridgeside Boulevard

P.O. Box 1792

Mount Pleasant, SC 29465

First Class Mail

)

Todd Meyer, Esquire
Kilpatrick Stockton
1100 Peachtree Street
Atlanta, GA 30309

First Class Mail

Securities & Exchange Commission
15th & Pennsylvania Ave. N.W.
Washington, DC 20020

First Class Mail
District Director

IRS

409 Silverside Road
Wilmington, DE 19809

First Class Mail

Securities & Exchange Commission
Atlanta Regional Office
Branch/Reorganization

3475 Lenox Road, NE, Suite 100
Atlanta, GA 30326-1232

First Class Mail
Secretary of Treasurer
P.O. Box 7040

Dover, DE 19903

First Class Mail
Secretary of State
Division of Corporations
Franchise Tax

P.O. Box 7040

Dover, DE 19903

First Class Mail

James D. Freeman, Esquire

U.S. Department of Justice
Environmental Enforcement Section
999 18™ Street

Suite 945-North Tower

Denver, CO 80202

First Class Mail

Jon L. Heberling, Esquire
McGarvey, Heberling, Sullivan &
McGarvey PC

745 South Main Street

Kalispel, MT 59901

First Class Mail

Patrick L. Hughes, Esquire
Haynes & Boone LLP

1000 Louisiana Street, Suite 4300
Houston, TX 77002-5012

First Class Mail

David S. Heller, Esquire
Latham & Watkins
Sears Tower, Suite 5800
Chicago, IL 60606

Case role” Doc 176 Filed 05/02/01 @° 13 of 16

First Class Mail

Charles E. Boulbol, Esquire
26 Broadway, 17" Floor
New York, NY 10004

First Class Mail

Ira S. Greene, Esquire

Squadron, Ellenoff, Plesent & Sheinfeld,
LLP

551 Fifth Avenue

New York, NY 10176

First Class Mail

James A. Sylvester, Esquire
Intercat, Inc.

104 Union Avenue
Manasquan, NJ 08736

First Class Mail

Steven J. Johnson, Esquire
Gibson, Dunn & Crutcher LLP
1530 Page Mill Road

Palo Alto, CA 94304-1125

First Class Mail
Charlotte Klenke, Esquire
Schneider National, Inc.
P.O. Box 2545

3101 S. Packerland

Green Bay, WI 54306

First Class Mail

David S. Rosenbloom, Esquire
Jeffrey E. Stone, Esquire
Lewis S. Rosenbloom, Esquire
McDermott, Will & Emery
227 West Monroe Street
Chicago, IL 60606-5096

First Class Mail

Brad Rogers, Esquire

Office of the General Counsel
Pension Benefit Guaranty Corp
1200 K. Street, N. W.
Washington, D.C. 20005-4026

First Class Mail
Pamela Zilly

Richard Shinder
David Blechman
Michael Alexander
The Blackstone Group
345 Park Avenue
New York, NY 10154

First Class Mail

Josiah Rotenberg

Lazard Freres & Co. LLC
30 Rockefeller Plaza, 60"
New York, NY 10020

First Class Mail

(Counsel for The Chase Manhattan)
Stephen H. Case, Esquire

Nancy L. Lazar, Esquire

David D. Tawil, Esquire

Davis Polk & Wardwell

450 Lexington Avenue

New York, NY 10017

First Class Mail

Jan M. Hayden

William H. Patrick

Heller, Draper, Hayden, Patrick & Horn,
LL.

650 Poydras Street, Suite 2500

New Orleans, LA 70130-6103

First Class Mail

Joseph F. Rice

Ness, Motley, Loadholt, Richardson &
Poole

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

Case onoe"s Doc 176 Filed 05/02/01 @” 14 of 16

First Class Mail

Nancy Worth Davis

Ness, Motley, Loadholt, Richardson &
Poole

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

First Class Mail

(Counsel for Asbestos Claimants)

Steven T. Baron, Esquire

Member

Silber Pearlman, LLP

2711 North Haskell Avenue, 5" Floor, LLP
Dallas, TX 75204

First Class Mail
Bankruptcy Administration
IOS Capital, Inc.

1738 Bass Road

P.O. Box 13708

Macon, GA 31208-3708

First Class Mail

(Attorneys for PPG Industries, Inc.)
W.J. Winterstein, Jr., Esquire

John J. Winter, Esquire

William M. Aukamp, Esquire
Eleven Penn Center, 29" Floor
1835 Market Street

Philadelphia, PA 19103

First Class Mail

R. Scott Williams

PMG Capital Corp.

Four Falls Corporate Center

West Conshohocken, PA 19428-2961

First Class Mail

Alan R. Brayton, Esquire
Brayton & Purcell

222 Rush Landing Road
Novato, CA 94945

First Class Mail

Jonathan W. Young

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

First Class Mail

Russell W. Budd

Alan B. Rich

Baron & Budd, P.C.

3102 Oak Lawn Avenue, Suite 1100
Dallas, TX 75219

First Class Mail

Shelby A. Jordan, Esquire

Nathaniel Peter Holzer. Esquire

Jordan, Hyden, Womble & Culbreth, P.C.
500 N. Shoreline Blvd., Suite 900

Corpus Christi, TX 78471

First Class Mail

Courtney M. Labson, Esquire

The Mills Corporation

Legal Department

1300 Wilson Boulevard, Suite 400
Arlington, VA 22209

First Class Mail

T. Kellan Grant

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

First Class Mail

Cindy Schultz

Ingersoll-Rand Fluid Products
One Aro Center

P.O. Box 151

Bryan, OH 43506

First Class Mail

Alan Kolod, Esquire

Moses & Singer LLP

1301 Avenue of the Americas
40" Floor

New York, NY 10019-6076
Case crore’ Doc 176 Filed 05/02/01 e" 15 of 16

First Class Mail

Mr. Thomas Moskie
Bankers Trust Company
Four Albany Street
Fourth Floor

New York, NY 10006

First Class Mail

John P. Dillman, Esquire
Linebarger Heard Goggan Blair
Graham Pefia & Sampson, LLP
P.O. Box 3064

Houston, TX 77253-3064

First Class Mail

Charles E. Gibson, HI
Attorney at Law

620 North Street, Suite 100
Jackson, MS 39202

First Class Mail

Paul M. Baisier, Esquire
SEYFARTH SHAW
1545 Peachtree Street
Suite 700

Atlanta, Georgia 30309

First Class Mail

Kevin D. McDonald
Wilshire Scott & Dyer, P.C.
One Houston Center

1221 McKinney, Suite 4550
Houston, Texas 77010

First Class Mail
Christopher Beard, Esquire
Beard & Beard

306 N. Market Street
Frederick, MD 21701

First Class Mail
Bernice Conn, Esquire

Robins, Kaplan, Miller & Ciresi LLP

2049 Century Park East, Suite 3700
Los Angeles, CA 90067

First Class Mail

Steven R. Schlesinger, Esquire
Jaspan Schlesinger Hoffman LLP
300 Garden City Plaza

Garden City, NY 11530

First Class Mail

Steven J. Kherkher, Esquire
Laurence G. Tien, Esquire
Williams Bailey Law Firm, L.L.P.
8441 Gulf Freeway, Suite #600
Houston, Texas 77017

First Class Mail
Kimberly W. Osenbaugh
Preston Gates & Ellis LLP
701-5" Avenue

Suite 5000

Seattle, WA 98104-7078

First Class Mail

Lewis T. LeClair, Esquire
McKool Smith

300 Crescent Court, Suite 1500
Dallas, Texas 75201

First Class Mail

Delta Chemical Corporation
2601 Cannery Avenue
Baltimore, MD 21226-1595

First Class Mail

Steven T. Hoort, Esquire

Ropes & Gray

One International Place

Boston, Massachusetts 02110-2624

First Class Mail

Peter Van N. Lockwood, Esquire
Julie W. Davis, Esquire

Trevor W. Swett, III, Esquire
Nathan D. Finch, Esquire

Caplin & Drysdale, Chartered
One Thomas Circle, N.W.
Washington, DC 20005

Hs Case orone’’ Doc 176 Filed 05/02/01 @~ 16 of 16

First Class Mail
First Class Mail Joseph T. Kremer, Esq.
Peter A. Chapman Lipsiptz, Green, Fahringer, Roll
24 Perdicaris Place Salisbury & Cambria, LLP
Trenton, NJ 08618 42 Delaware Avenue, Suite 300

Buffalo, NY 14202
First Class Mail
Paul M. Matheny
The Law Offices of Peter G. Angelos, P.C.
5905 Harford Rd.
Baltimore, MD 21214

First Class Mail

Michael J. Urbis

Jordan, Hyden, Womble & Culbreth, P.C.
2390 Central Blvd, Suite G

Brownsville, TX 78520

First Class Mail

Mary A. Coventry
Sealed Air Corporation :
Park 80 East
Saddle Brook, New Jersey 07663

First Class Mail

Margery N. Reed, Esquire
Duane, Morris & Heckscher LLP
4200 One Liberty Place
Philadelphia, PA 19103-7396

First Class Mail

Attn: Meridee Moore and Kirsten Lynch
Farallon Capital Management, L.L.C.
One Maritime Plaza

Suite 1325

San Francisco, California 94111

First Class Mail

John M. Klamann

Klamann & Hubbard

7101 College Blvd., Suite 120
Overland Park, KS 66210
